

Matter of Kammeyer v Manges-Merriman (2018 NY Slip Op 06408)





Matter of Kammeyer v Manges-Merriman


2018 NY Slip Op 06408


Decided on September 28, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 28, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., CARNI, NEMOYER, TROUTMAN, AND WINSLOW, JJ.


1033 CAF 17-01881

[*1]IN THE MATTER OF NICOLAS KAMMEYER, PETITIONER-RESPONDENT,
vJAMI R. MANGES-MERRIMAN, RESPONDENT-APPELLANT. (APPEAL NO. 2.) 






DAVIS LAW OFFICE PLLC, OSWEGO (STEPHANIE N. DAVIS OF COUNSEL), FOR RESPONDENT-APPELLANT.
RUTHANNE G. SANCHEZ, WATERTOWN, FOR PETITIONER-RESPONDENT. 
SCOTT A. OTIS, WATERTOWN, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Jefferson County (Peter A. Schwerzmann, A.J.), entered October 18, 2017 in a proceeding pursuant to Family Court Act article 6. The order settled a record on appeal. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: September 28, 2018
Mark W. Bennett
Clerk of the Court








